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                               EXHIBIT 77




                                                                  Appx. 02262
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   Ogier (Guernsey) LLP
   Advocate Alex Horsbrugh-Porter
   17 March 2023

                              IN THE ROYAL COURT OF GUERNSEY

                                       (ORDINARY DIVISION)

   BETWEEN:

                                         CLO HOLDCO, LTD

                                                                                           Applicant

                                                 -and-

                                  HIGHLAND CLO FUNDING, LTD

                                                                                        Respondent



                                              APPLICATION




   CLO HoldCo, Ltd of Intertrust Corporate Services (Cayman) Limited, 190 Elgin Avenue, George
   Town, Grand Cayman KY1-9005, Cayman Islands and whose address for service is at Ogier
   (Guernsey) LLP, Redwood House, St Julian's Avenue, St Peter Port, Guernsey, GY1 1WA

                                      APPLIES TO THE COURT

   PURSUANT TO Sections 349 and 350 of the Companies (Guernsey) Law 2008 (the Companies
   Law) and the inherent jurisdiction of the Court

   AND IN THE CIRCUMSTANCES more particularly described in the First Affidavit of Paul Richard
   Murphy AND AS FOLLOWS:

   1      The Applicant is a limited company incorporated under the laws of the Cayman Islands with
          registration number 249232, its registered office being situated at Intertrust Corporate
          Services (Cayman) Limited, 190 Elgin Avenue, George Town, Grand Cayman KY1-9005,
          Cayman Islands. This application is brought by the Applicant in its capacity as a
          shareholder in the Respondent.

   2      The Respondent is a limited company incorporated under the laws of Guernsey with
          registration number 60120, its registered office being situated at 1st Floor, Royal Chambers
          St. Julian's Avenue St. Peter Port Guernsey GY1 3JX.

   3      Respondent has issued 153,139,231 ordinary shares. As shown, Applicant owns 49.015%
          of shares outstanding at the date of this Application. At the date of this Application the
          153,139,231 shares in issue are fully paid up.


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   4    The current shareholding of the Respondent is as follows:-

        (a)     The Applicant is the holder of 49.015% of the issued share capital in the Company
                (70,314,387.44 shares);

        (b)     HCMLP Investments, LLC (HCMLP) is the holder of 49.985% of the issued share
                capital in the Company;

        (c)     Highland Capital Management, L.P. (HCM) is the holder of 0.627% of the issued
                share capital in the Company; and

        (d)     The remaining shareholding in the Company of 0.373% is held by four individuals,
                namely Lee Blackwell Parker III, Hunter Covitz, Jon Poglitsch, and Neil Desai

                (collectively the Shareholders).

   5    HCM and its affiliate, HCMLP, are the collective majority shareholders of the Company (the
        HCM Shareholders). The Applicant has informed the HCM Shareholders that they are not
        necessary parties to this Application.

   6    HCM is a limited partnership incorporated under the laws of Delaware with registration
        number 2770270, its registered office being situated at 100 Crescent Court, Suite 1850,
        Dallas, Texas, United States 75201. HCMLP is a limited liability company incorporated
        under the laws of Delaware with registration number 5749764, its registered office being
        situated at 100 Crescent Court, Suite 1850, Dallas, Texas, United States 75201.

   7    The Respondent has been formally notified of the filing of this Application and will be notified
        of the date, time and place of the hearing of the Application in accordance with section
        349(4) of the Companies Law.

   8    The Application arises out of the management of the Respondent in a manner which has
        caused ongoing unfair prejudice to the Applicant in its capacity as minority shareholder in
        the Respondent. The unfair prejudice complained of by the Applicant as set out in the
        affidavit in support of this Application is mainly predicated upon the Respondent's conduct
        in aligning its interests with the wider commercial interests of the HCM Shareholders (as
        the majority shareholder) to the detriment of the Applicant.

   9    The purpose of the Application is to mitigate any further harm being caused to the
        Applicant's interests as shareholder by securing for the Applicant a direct interest in the
        underlying assets of the Respondent in proportion to its shareholding (through the Applicant
        Exit Proposals as defined and contained within the First Affidavit). The Applicant has
        considered various options to achieve a mutual separation between it and the Respondent,
        and the relief sought in the Application is the most equitable solution to the unfair prejudice
        complained of.

   10   Alternatively, as section 350(2)(b) of the Companies (Guernsey) Law, 2008 provides the
        Royal Court to “require the company – . . . . . (ii) to do any act which the applicant has
        complained it has omitted to do,” if the Court is not disposed to approve the Applicants Exit
        Proposals, the Applicant seeks as alternative relief provided for in Section 350(2)(c) - that
        the Court “authorise civil proceedings to be brought in the name and on behalf of the


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          company by such persons and on such terms as the Court may direct” such that Applicant
          can bring an action against US Bank for recovery of the “Redemption Proceeds” as defined
          in the First Affidavit. As an additional alternative relief (if the Court does not approve the
          Applicant's Exit Proposals), the Applicant seeks relief under Section 350(2)(b)(ii), that the
          Court “require the company (ii) to do any act which the applicant has complained it has
          omitted to do” by ordering the Company to make full distributions to shareholders of
          unencumbered cash in an amount reflective of the Company’s wind down status and
          absence of investment activities.

   THE APPLICANTS THEREFORE PRAY AS FOLLOWS:

   1. That the Court make an order that:

          a. The Respondent be ordered to undertake a transaction pursuant to section 350(2)(d)
             of the Companies Law pursuant to which:

                   i. the Applicant transfers to the Respondent its current shareholding held in the
                      Respondent, in accordance with the Applicant Exit Proposals;

                  ii. as consideration for such shareholding, the Respondent transfers to the
                      Applicant the full legal and beneficial title of all of the assets held by the
                      Respondent in proportion to the Applicant's pro rata 49.015% equity share in
                      the Respondent; and/ or

          b. Such order as the Court thinks fit for giving relief in respect of the matters complained
             of, including without limitation the alternative relief set forth above.

                                       This 6th day of March 2023




                               ……………………………………………….

                                         A Horsbrugh-Porter
                                      Advocate for the Applicant




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                                                        Royal Court of Guernsey

                                                                SIGNIFICATION
                                                                            to
                                                            HIGHLAND CLO FUNDING, LTD

                                                                       of 1st Floor
                                                                    Royal Chambers
                                                                   St. Julian's Avenue
                                                                      St. Peter Port
                                                                        Guernsey
                                                                        GY1 3JX

                                                    The last date for service of this Signification is
                                                                     10 March 2023




           Issued from the Office of
                                                               ………………………………
                    Ogier
                  Advocates                                       H.M. Sergeant
Redwood House, St Julian’s Avenue, St Peter Port,
            Guernsey, GY1 1WA




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                                    Sergeant
                              IN THE ROYAL COURT OF GUERNSEY

                                      (ORDINARY DIVISION)

     BETWEEN:

                                       CLO HOLDCO, LTD



                                                                                    Applicant

                                               and




                                 HIGHLAND CLO FUNDING, LTD



                                                                                  Respondent



     AT THE INSTANCE of CLO HOLDCO, LTD (Applicant) of Intertrust Corporate Services
     (Cayman) Limited, 190 Elgin Avenue, George Town, Grand Cayman KY1-9005, Cayman
     Islands and whose address for service is at Ogier (Guernsey) LLP, Redwood House, St
     Julian's Avenue, St Peter Port, Guernsey, GY1 1WA




                                       HEREBY NOTIFIES

     HIGHLAND CLO FUNDING, LTD whose registered office is at 1st Floor, Royal Chambers,
     St. Julian's Avenue, St. Peter Port, Guernsey, GY1 3JX that an application in the form
     attached has been made to the Royal Court, returnable at 10h15am (or as soon as possible
     thereafter) on 17 March 2023.




                                  …………………………………..

                                Advocate Alex Horsbrugh-Porter
                                  Advocate for the Applicant


     Dated: 06 March 2023




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